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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            No.   CR. S-07-165 LKK
12                Plaintiff,
13        v.                              ORDER
14   DARIUS LOUIS,
15                Defendant.
16

17        On April 28, 2014, defendant Darius Louis filed a Notice of

18   Request to Seal Documents. (ECF No. 292.) Defendant therein

19   petitions the court to seal the entire case file, including the

20   electronic docket. Defendant has lodged the documents required by

21   Local Rule 141 with the court. The court now wishes to hear the

22   government’s view regarding the Request to Seal.

23        The court notes that defendant did not file a proof of

24   service with the Notice of Request. It is therefore unclear

25   whether he has complied with Local Rule 141’s requirement that

26   “all Requests [to Seal], proposed orders, and submitted documents

27   shall be served on all parties on or before the day they are

28   submitted to the Court.”
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 1        In light of the foregoing, the court hereby orders as
 2   follows:
 3        [1] If defendant Darius Louis has not yet served the United
 4        State of America with the documents called for by Local Rule
 5        141, defendant is DIRECTED to do so within forty-eight (48)
 6        hours of docketing of this order. Defendant should
 7        electronically file a proof of service immediately upon
 8        effecting service, or if he has already served the
 9        government, immediately upon receipt of this order.
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11        [2] The United States of America is DIRECTED to file either
12        an opposition to defendant’s Request to Seal or a statement
13        of non-opposition to the Request no later than ten (10) days
14        after docketing of this order. The matter will then stand
15        submitted.
16        IT IS SO ORDERED.
17        DATED:   May 2, 2014.
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